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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


   UNITED STATES OF AMERICA                           §
                                                      §   Criminal Action No. 4:98-CR-14
   v.                                                 §   (Judge Jordan)
                                                      §
   NATHANIEL HOWARD THOMAS                            §


                     MEMORANDUM ADOPTING REPORT AND
              RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

            Came on for consideration the above-referenced criminal action, the Court having

  heretofore referred the request for the revocation of Defendant’s supervised release to the United

  States Magistrate Judge for proper consideration.        The Court has received the Report and

  Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

  waived allocution before the Court as well as his right to object to the report of the Magistrate

  Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

  correct.

            It is therefore ORDERED that the Report and Recommendation of United States

  Magistrate Judge is ADOPTED as the opinion of the Court.

            It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

            It is further ORDERED that Defendant be committed to the custody of the Bureau of

  Prisons for a term of twelve (12) months of imprisonment, with no term of supervised release to

  follow.




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         The Court also recommends that Defendant be housed in a Bureau of Prisons facility in

  Fort Worth, if appropriate.


           So ORDERED and SIGNED this 9th day of July, 2020.




                                                        ____________________________________
                                                        SEAN D. JORDAN
                                                        UNITED STATES DISTRICT JUDGE




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